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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                             JUDGE RAYMOND P. MOORE

Courtroom Deputy: Cathy Pearson                                  Date: July 24, 2018
Court Reporter: Tammy Hoffschildt                                Interpreter: n/a
Probation Officer: n/a

CASE NO. 13-cr-00477-RM

Parties                                                          Counsel

UNITED STATES OF AMERICA,                                        James Murphy

     Plaintiff,




v.

1. JEROLD R. SORENSON,                                           Sean Connelly

     Defendant.




                              COURTROOM MINUTES

ORAL ARGUMENT
Court in session:       1:00 p.m.
Appearances of counsel.

Discussion held and argument given regarding the Petition of Jerold Sorenson for Write
of Coram Nobis Vacating Conviction (Doc. 154).

ORDERED: Counsel shall file briefs, which shall not exceed ten (10) pages, regarding
         the standard in the 10th Circuit, with emphasis on the role of Shelton and
         Lance, on or before August 10, 2018.

The Court takes the Petition of Jerold Sorenson for Writ of Coram Nobis Vacating
Conviction (Doc. 154) under advisement.

Court in recess:           2:22 p.m.
Total in court time:       1:22          Hearing concluded
